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14    Attorneys for Defendant/Counterclaimant Digital Gadgets, LLC
15
16                        UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA
18
19    Interworks Unlimited, Inc., a California )    Case No. 2:17-cv-4983 TJH (KSx)
      corporation,                             )
20                                             )    STIPULATION TO CONTINUE
21                  Plaintiff,                 )    THE HEARING DATE FOR
            v.                                 )    DEFENDANT’S MOTION TO
22
                                               )    DISMISS PURSUANT TO FRCP
23    Digital Gadgets, LLC., a New Jersey      )    12(b)(1)
24    limited liability company,               )
                                               )    Current Hearing Date:   July 29, 2019
25                         Defendant.          )
26    ________________________________ )            [Proposed] New Hearing Date:
                                               )    August 5, 2019
27
      Digital Gadgets, LLC., a New Jersey      )
28    limited liability company,               )


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 1                                             )
                        Counterclaimant,       )
 2                 v.                          )
 3                                             )
      Interworks Unlimited, Inc., a California )
 4    corporation,                             )
 5                                             )
 6                      Counter-defendant )

 7
            Plaintiff/Counter Defendant Interworks Unlimited, Inc. ("Plaintiff") and
 8
      Defendant/Counterclaimant Digital Gadgets, LLC. (“Defendant”) hereby state and
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      stipulate the following:
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         1. Whereas on July 1, 2019, Defendant filed and served Plaintiff with
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            Defendant’s Motion to Dismiss.
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         2. Whereas on July 2, 2019 Defendant’s counsel was advised by the Court to
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            file a Notice of Hearing concerning Defendant’s Motion to Dismiss.
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         3. Whereas on July 2, 2019, Defendant promptly filed a Notice of Hearing
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            notifying the parties that the motion was scheduled for July 29, 2019.
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         4. Whereas counsel for both parties have met and conferred concerning issues
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            relating to service of the notice.
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         5. Thus, counsel for both parties have stipulated, subject to the Court’s
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            approval, to continue the hearing date for the Motion to Dismiss to August 5,
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            2019.
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         6. Thus, counsel for both parties have further stipulated, subject to the Court’s
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            approval, that Plaintiff shall have until July 15, 2019 to file its opposition
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            and Defendant shall have until July 29, 2019 to file its reply.
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         7. There has been no prior request to continue hearing date for the Motion to
25
            Dismiss.
26
      It is so stipulated.
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28    Date: July 3, 2019                         By: /s/ Joseph M. Liu, Esq.         .


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 1                                                       Joseph M. Liu, Esq.
                                                         Attorneys for Plaintiff/Counter
 2                                                       Defendant Interworks Unlimited, Inc.
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 4
 5    Date: July 3, 2019                         By: /s/ Harlan M. Lazarus, Esq.    .
 6                                                      Harlan M. Lazarus, Esq.
                                                        Attorneys for Defendant/
 7                                                      Counterclaimant Digital Gadgets,
 8                                                      LLC.
 9                                     Attestation of Signature
10
                I, Joseph M. Liu, hereby attest that all other signatories listed, and on whose
11
12    behalf the filing is submitted, concur in the filing’s content and have authorized the
13
      filing.
14
15    DATED: July 3, 2019                                By:   /s/ Joseph M. Liu .
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